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PAGE 1 CASE NO.

THE FEDERAL COURT OF JACKSONVILLE

CICHOWSKI FAMILY,
Plaintiff
vs
CVS HEALTH CORPORATION;
CVS HEALTH SOLUTIONS, LLC;
CVS PHARMACY, INC.;
CVS RX SERVICES, INC.

Defendant
Case No.:

S!92N 544 -TUC- PRB

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MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE, FLORIDA

DEMAND FOR JURY TRIAL

CVS Defendant CVS Health Corporation is a Delaware corporation with its
principal place of business in Rhode Island. CVS Pharmacy, Inc. is a
Rhode Island Corporation with a principal place of business in Rhode
Island. CVS Health Corporation and CVS Pharmacy, Inc. are collectively
referred to herein as “CVS.” CVS, including through its subsidiary and
affiliated 14 entities, operates as a chain of retail pharmacies in
Florida, and it also operates as a distributor. Also pharmacy
technicians, pharmacy managers, and pharmacy service associates

(collectively, “pharmacy employees”).

1 Old Kings Road South, Palm Coast, FL, 32137

COMPLAINT

 

Plaintiff THE Cichowski Family herby sues defendant CVS PHARMACY, INC CVS
HEALTH CORPORATION; CVS HEALTH SOLUTIONS, LLC; CVS PHARMACY, INC. CVS RX
SERVICES, INC. FOR NEGLINGENCE and PUNITIVE DAMAGES.
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1. This action for damages in excess of 30,000,000.00 (THIRTY Million
Dollars) Plus 700,000.00 Public Notification fund, for ads notifying the
pubic of a debt collector working as a pharmacist in a cvs,

2. CVS was Negligent in not Maintaining Health Standards.
3. CVS was Negligent in not keeping a basic check on its pharmacists.

4. CVS was Negligent in allowing essentially a “DEBT SPY” to overhear and
directly deal with Patients saying their name giving Medical information

without disclosing that they are a debt collector or working with a debt
collector.

5. CVS was Negligent in allowing “sophanath kes” a Pharmacist in the 1
Old Kings Road South, Paim Coast, FL, 32137

With access to Medical Records, Identity records, Person and Confidential
work, income, Insurance, Medicine, Doctors information, names, addresses,
Social-Security information, phone numbers, cctv access, Patient History,
and ETC.. INFO TO BE ADDED in DEPOSITION OF CEO.

6. Cvs was Negligent in allowing “sophanath kes” to use his Position as a
Pharmacist to follow patients “Cichowski family” and reasonably had
access to into and data, and can be reasonably argued “sophanath kes”
used his position to debt collect. He was serving and doing Debt
collecting work in the area he served as a Pharmacist.

T. CVS was Negligent in not protecting important information, and the
people it serves.

8. We ask for Federal Court since this is a Cross State issue.

9. We have meet the Requirements of a federal Lawsuit, by serving
Defendant CVS to file in federaI court

10. CVS has 10 DAYS to RESPOND upon receiving this.

11. Exhibit A. is “sophanath kes’s” he is a public “server” in regular
contact with a Debt collector, as this is a Requirement for a serving.
IT IS REASONABLE HE USED INFORMATION. SINCE HE WAS SERVING THE SAME
PEOPLE HE WAS SERVING.

12. Defendants’ failed to comply with Florida law because cvs failed to
follow Hipaa laws, medical records laws. AND DEBT LAWS

13. CVS broke the public trust. Cvs is too large of a company to allow
this to go on.

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14. CVS knew or should of knew about MR.s KES employment by a debt
collector, as it is public record.

15. CVS should have trained and supervised their Pharmacist better.

16. The Cichowskis can no longer go to CVS for reasonable fear of
Retaliation. THIS PERSON DOES HAVE ACCESS TO MEDICAL RECORDS AND
MEDICATIONS.

17. WITHOUT REFRENCING THE CVS NAME OR GIVING REFENCE, WE ASKED 50 PEOPLE
WHAT THEY THOUGH ABOUT THIS SITUAUTION, AND GIVING THEIR REACTING WE
DEMAND A FULL JURY TRIAL.

18. WE also ask for mr kes PHONE, LOCATION,and, TEXTs DATA be SUBPOENAED
19. WE ALSO PUT ON NOTICE KAREN S. LYNCH TO be SUBPOENAED FOR TRIAL

20. WE HAVE FULFILLED THE REQUIREMENDS FOR FEDERAL COURT

21. THE FEDERAL COURT HAS JURISDICTION, ACROSS STATE LINES. AND A RHODE
ISLAND COMPANY HIDING IN DELAWARE. SO THIS COURT HAS FULL AUTHORITY.

22. WHEREFORE, Plainiff demands judgment in excess of 15,000,000.00
(Fifteen Million Dollars) Plus 700,000.00 Public Notification fund, for
ads notifying the pubic of a debt collector working as a pharmacist in a
cvs.

23. WHEREFORE, Plainiff demands PUNITIVE DAMAGES JUDGEMENT in excess of
15,000,000.00 (Fifteen Million Dollars)

24. Plaintiff reserves the right to amend complaint. Based on info that
comes out on this case.

2a. THIS CASE SHOULD COME TO JURY AS
FAST AS POSSIBLE. CVS CREATED A PUBLIC
HEALTH DANGER.

cvslawsuitflorida@amail.com

the C+#chowski Family

 

37 Cleveland court Palm coast Florida 32137

 
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Affidavit of Process Server
FOR FEDERAL COURT OF JACKSONVILLE FLORIDA
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